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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: NAVISTAR MAXXFORCE                           Case No. 1:14-cv-10318
ENGINES    MARKETING,     SALES
PRACTICES AND PRODUCTS LIABILITY                    The Honorable Joan B. Gottschall,
LITIGATION                                          Judge Presiding



             NON-PARTY DAIMLER TRUCKS NORTH AMERICA LLC’S
           MOTION TO QUASH SUBPOENA TO PRODUCE DOCUMENTS AND
            FOR LEAVE TO FILE A MEMORANDUM OF LAW IN SUPPORT

       NOW COMES non-party, DAIMLER TRUCKS NORTH AMERICA, LLC, (“DTNA”)

through its attorneys in this regard, Mark H. Boyle and Ellen L. McHugh and DONOHUE BROWN

MATHEWSON & SMYTH LLC, and moves this Court for an order quashing the Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

served on DTNA on July 27, 2017. In further support of its Motion to Quash, DTNA states as

follows:

       1.       Plaintiffs in this class action served a Subpoena to Produce Documents,

Information, or Objects or to Permit Inspection of Premises in a Civil Action (“Subpoena”) on July

27, 2017. (Exhibit A)

       2.       The Subpoena, issued in a class action apparently involving one of DTNA’s

competitors, includes broad document requests requiring DTNA, a non-party with no relationship to

this lawsuit, to identify all trucks sold or leased as new or used from 2008 to 2016. The Subpoena

further seeks the production of DTNA’s confidential, proprietary, and commercially sensitive

documents and information about each and every truck and transaction identified.
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       3.        Rule 45(d)(3) of the Federal Rules of Civil Procedure provides that on timely

motion “the court for the district where compliance is required must quash or modify a subpoena”

that 1) subjects a person to undue burden, 2) provides insufficient time to comply, and/or 3) requires

disclosure of privileged or other protected matter. In addition, Rule 45(d)(3) permits a district court

to quash or modify a subpoena if it requires the disclosure of a trade secret or other confidential or

commercial information.

       4.        The Subpoena served on non-party DTNA improperly seeks confidential and

commercially sensitive documents and information, the disclosure of which, particularly in an action

involving one of DTNA’s competitors, would detrimentally affect DTNA’s business. Additionally,

the sweepingly broad Subpoena provides insufficient time to comply and may require the disclosure

of privileged or other protected matter.

       5.        On information and belief, the underlying lawsuit involves trucks equipped with a

Navistar MaxxForce Advanced EGR diesel engine. However, to DTNA’s knowledge, no DTNA

truck, cab, chassis or other component is involved in the pending class litigation. No DTNA trucks

are alleged to have been equipped with a Navistar MaxxForce engine, which is apparently the subject

of the underlying class lawsuit.

       6.        In addition, Plaintiffs have failed to comply with Rule 45(d)(1), which requires the

party or attorney issuing the subpoena to take “reasonable steps to avoid imposing undue burden or

expense on a person subject to the subpoena.” Prior to serving the subpoena on non-party DTNA,

Plaintiffs took no steps to contact DTNA to avoid imposing an undue burden or address the

overwhelming concern about DTNA’s confidential and proprietary information.




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          7.     In particular, the Subpoena served on non-party DTNA is unduly burdensome

because it would require DTNA to identify each and every Class 8 truck sold or leased as new for an

eight year period, from 2008 to 2016, and further provide confidential and commercially sensitive

documents and information pertaining to the purchase, sale, ownership, trade-in, warranty claims,

and mileage for each and every truck.

          8.     The indiscriminate breadth of the categories and the nature of the documents and

information sought would improperly require DTNA to produce confidential business information,

such as customer identification, vehicle attributes, and vehicle performance, which materially impact

commercially sensitive information, including the price and dollar amounts paid to dealers involved

in the transactions.

          9.     In addition, the Subpoena seeks private information about DTNA’s purchasers,

including, for example, their name, purchase price of their trucks, trade-in amounts, and warranty

claims.

          10.    The improperly broad Subpoena, served on July 27, 2017, also specifies 30 days to

respond, which, if this Court does not quash the Subpoena, provides an insufficient time to respond.

Thirty days would be insufficient to identify vehicles, gather documents, review documents and

electronically stored information for trade secret, commercially sensitive and confidential

information, and identify private and privileged information contained in the documents.

          11.    Finally, the Subpoena does not describe with particularity the information,

documents, or categories of documents sought, particularly in its request for “[D]ocuments sufficient

to Identify,” “[D]ocuments sufficient to allow Plaintiffs,” and “[D]ocuments sufficient to show.” Id.




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       12.       DTNA is a non-party in this action and the time, expense and inconvenience of

responding to the Subpoena would be burdensome and would impose undue hardship on DTNA

without any substantial corresponding benefit to Plaintiffs.

       13.       DTNA has requested a hearing on this Motion to Quash and further seeks leave to

file a memorandum in support of this Motion to Quash Subpoena for Production of Documents,

which memorandum would contain the further factual and legal bases in support of its request to

quash this Subpoena.

       WHEREFORE, DAIMLER TRUCKS NORTH AMERICA, LLC, moves this Court to quash

the attached Subpoena. DTNA prays for this relief as well as any other relief that this Court deems

just and equitable under the circumstances.

                                      Respectfully submitted,

                                      DAIMLER TRUCKS NORTH AMERICA, LLC

                              By:     /s/ Mark H. Boyle___________________________
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                                      Ellen M. McHugh, ARDC # 6190691
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                                                                      Exhibit A
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                                       CERTIFICATE OF SERVICE

        I, hereby certify that on this 9th day of August, 2017, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system, which provided electronic service upon:

        Jason L. Lichtman
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        Counsel for Plaintiffs


                                                     /s/ Mark H. Boyle
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